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United States District Court
District of Massachusetts

BOB BARR, WAYNE A. ROOT,
LIBERTARIAN PARTY OF
MASSACHUSETTS, and LIBERTARIAN
NATIONAL COMMITTEE, INC.,
Plaintiffs,

Civil Action No.
08-11340-NMG

Vv.

WILLIAM F. GALVIN, as he is
SECRETARY OF THE COMMONWEALTH OF
MASSACHUSETTS,

Defendant.

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MEMORANDUM & ORDER
GORTON, J.

Plaintiffs Bob Barr (“Barr”) and Wayne A. Root (*Root”) are
the nominees of the Libertarian Party for the offices of
President and Vice President of the United States, respectively.
They, together with the remaining plaintiffs in this case, i.e.
the Libertarian Party of Massachusetts and the Libertarian
National Committee, Inc., seek a preliminary injunction that
would order the defendant to place the names of Barr and Root on
the Massachusetts ballot for the 2008 presidential election.

I. Backqround
A. Factual Background
Because the Libertarian Party is not one of the recognized

“political parties” in the Commonwealth of Massachusetts, its
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candidates may appear on an election ballot only if it submits a
valid nominating petition. Such a petition must designate 12
electors, be signed by at least 10,000 voters, and be submitted
within sufficient time to permit Town Clerks to prepare for the
election. M.G.L. c. 53, 86. In 2008, the deadline for filing
nominating petitions was July 29.

Beginning in late July, 2007, the plaintiffs began preparing
for the 2008 presidential election. The nominating convention
for the Libertarian Party was not held until late May, 2008,
however, thus forcing the plaintiffs to make a choice between
waiting until after the convention and collecting all 10,0600
signatures within two months or guessing who their nominees would
be and circulating petitions for candidates who might not
eventually be their party’s nominees. The plaintiffs chose the
latter course, gathering signatures in support of Dr. George
Phillies (“Phillies”), who is the Chair of the Libertarian Party
of Massachusetts, for president, and Chris Bennett (“Bennett”)
for vice president. They eventually collected over 15,000
Signatures on the Phillies-Bennett petitions.

In July, 2007, Phillies inquired of the Elections Division
of the Office of the Secretary of the Commonwealth (“the
Division”) as to whether the Libertarian Party would be allowed
to substitute the names of the nominees actually chosen at its

convention, in the event that they were not Phillies and Bennett.
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The Division responded, via e-mail, through one of its attorneys,
Kristen Green (“Attorney Green”), on October 26, 2007, that the
Libertarian Party could “prepare a form that allows members of
[that] party to request the substitution of the candidate.” The
plaintiffs understood the reponse as an assurance that a
substitution would be allowed and proceeded accordingly.

Barr and Root ultimately defeated Phillies and Bennett and
won the Libertarian Party’s nomination. Immediately thereafter,
on May 29, 2008, the plaintiffs reestablished contact with the
Division and sought to substitute the nominees’ names on the
petitions they had gathered. On June 5, 2008, however, the
Division informed the plaintiffs that no substitution would be
permitted because it viewed Phillies and Bennett as having been
mere “stand-ins” who were not actually seeking their party's
nomination. By that time, the plaintiffs had collected
approximately 7,000 signatures on behalf of Phillies and Bennett.
They determined that it would be impossible for them to abandon
those signatures and the resources that had been devoted to
collecting them to start afresh. The plaintiffs chose, instead,
to continue gathering signatures on the original petition and to
challenge in court the Commonwealth’s refusal to allow
substitution.

The basis for this lawsuit, and for this motion for

injunctive relief, is twofold. First, the plaintiffs allege that
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the Commonwealth is estopped from opposing the motion, or denying
substitution, by the statements made by Attorney Green to
Phillies in October, 2007. They argue further that the statutory
scheme governing substitution is unconstitutionally vague and
that, as implemented by the defendant, it places
unconstitutional, unfettered discretion in the hands of
government officials.

Before this Court is the plaintiffs’ motion for a
preliminary injunction enjoining the defendant from printing
ballots for the 2008 presidential election without the names of
Barr and Root as the candidates of the Libertarian Party.

B. Procedural History

On August 6, 2008, the plaintiffs filed a complaint alleging
violations of their rights to freedom of speech, voting and
association and to equal protection of the laws under the First
and Fourteenth Amendments of the United States Constitution. The
plaintiffs filed the pending motion for preliminary injunction on
August 15, 2008, and defendant William F. Galvin, Secretary of
the Commonwealth of Massachusetts, filed his opposition on August
29, 2008. A hearing on this matter was held on September 12,
2008.

It. Analysis
A. Legal Standard

To obtain preliminary injunctive relief under Fed. R. Civ.
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P, 65, a movant must demonstrate

(1) a substantial likelihood of success on the merits, (2) a

significant risk of irreparable harm if the injunction is

withheld, (3) a favorable balance of hardships, and (4) a

fit (or lack of friction) between the injunction and the

public interest.
Nieves-Marquez v. Puerto Rico, 353 F.3d 108, 120 (1st Cir. 2003)
(citation omitted). Likelihood of success on the merits is the
critical factor in the analysis. Weaver v. Henderson, 984 F.2d
11, 12 (1st Cir. 1993) (citations omitted).

B. Application

Plaintiffs have met their burden of proving all four
elements required to obtain 4 preliminary injunction, as
hereinafter described.

1. Likelihood of Success on the Merits
a. Estoppel

As an initial matter, it is noted that “estoppel against the
government if it exists at all is hen’s-teeth rare.” Costa v.
INS, 233 F.3d 31, 38 (lst Cir. 2000). In addition to the
traditional elements of estoppel, a party pressing such a claim

against the government must demonstrate “affirmative misconduct”

on the part of the government. Dantran, Inc. v. U.S. Dep’t of

Labor, 171 F.3d 58, 67 (lst Cir. 1999). No such showing has been
made here. At worst, Attorney Green’s email to Phillies,
suggesting that her office would prepare a form on which the

plaintiffs could request substitution, was vague. It made no

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promise that the request for substitution would be granted. The
plaintiffs have offered no evidence whatsoever that Attorney
Green mis-stated government policy, much less that she did so
deliberately or maliciously. The government will not be estopped
from opposing this motion or from defending the underlying
lawsuit.
b. The Constitutionality of the Substitution

Process with Respect to Presidential Nominees

on Election Ballots

The first question that must be addressed in evaluating the
plaintiffs’ constitutional claims is what standard of review
applies. Actions of the state with implications on ballot access
are subject to a sliding scale, with more searching review
applied to more burdensome regulations. McClure v. Galvin, 386
F.3d 36, 41 (1st Cir. 2004). Voting regulations imposing “severe
burdens” must be narrowly tailored to a compelling state
interest, but “reasonable, nondiscriminatory restrictions” will
usually be justified by “important regulatory interests.” Id.,
citing Timmons v. Twin Cities Area New Party, 520 U.S. 351, 358
(1997).

In this case, the plaintiffs challenge the constitutionality
of the Massachusetts statutory scheme for the substitution of
presidential nominees. The most relevant statute, M.G.L. c. 53,
§14, refers to candidates “nominated for a state, city or town

office.” On its face, that category does not appear to encompass

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candidates for the office of President of the United States.
Another statute, M.G.L. c. 50, §1, however, defines a “state
officer” as “any person...chosen at a state election” anda
“state election” as “any election at which a national, state or
county officer...is to be chosen by voters.” That language has
the effect of incorporating statewide elections for federal
offices within the purview of state election law.

It is evident, nonetheless, that the terms “state officer”
and “state office” have been used without precision. A “state
officer” is, ultimately, defined as “a national, state or county
officer.” Thus, the category of “state officers” is defined to
be broader than itself, a nonsensical conclusion. It is,
therefore, ambiguous whether the substitution process set forth
in §14 applies to presidential nominees. If it does not,
interested parties are left with no statutory guidance on the
issue. Such ambiguity in the law is evidenced by the actions of
the Election Division itself, which suggested, via Attorney Green
in October, 2007, a method for substitution of a political
nominee but took a different stance in June, 2008, when it
refused to entertain the specific substitution of Barr-Root for
Phillies-Bennett.

As such, a minor political party, desiring to substitute its
presidential nominee on the ballot in Massachusetts is left to

guess how, if at all, to do so in compliance with the law.
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Surely there can be no state interest that would justify such a
burden. Therefore, M.G.L. c. 53, §14 will likely fail
constitutional scrutiny as applied to the plaintiffs under the
McClure test, even without specifically determining whether the
statute is void for vagueness or grants unfettered discretion to
the Commonwealth. 386 F.3d at 41; see also Anderson v.
Firestone, 499 F. Supp. 1027, 1030 (D.C. Fla. 1980) (finding that
independent candidates for president and vice president were
denied equal protection of the laws by the state’s failure to
allow for substitution of the vice-presidential candidate listed
on the petitions). For this reason, there is a substantial
likelihood that the plaintiffs in this case will prevail on the
merits of their constitutional claims.

2. Irreparable Harm, Balance of Harms and the Public
Interest

The remaining factors to be considered with respect to the
imposition of a preliminary injunction weigh overwhelmingly in
favor of the plaintiffs. The plaintiffs will undoubtedly suffer
irreparable harm if this injunction is denied because the ballots
will be printed without the names of the candidates actually
chosen to represent the Libertarian Party in the 2008
presidential election. No damages or other legal remedy can

compensate for a missed election. See Duke v. Connell, 790 F.

Supp. 50, 52-53 {(D.R.I. 1992) (finding irreparable harm where, if

a motion for a preliminary injunction were denied, ballots would

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be printed without the name of a major party candidate in the
Rhode Island primary}.

With respect to the balancing of the harms, the deprivation
of ballot access to the plainitiffs is a harm at least as great
as, and probably greater than, any potential harm to the
government’s responsibility to ensure an orderly election. See
Williams v. Rhodes, 393 U.S. 23, 30 (1968) (lamenting that ballot
access restrictions burden the right to free assocation and the
right to vote, both of which, “of course, rank among our most
precious freedoms”); Strahan v. Frazier, 156 F. Supp. 2d 80, 93-
94 (D. Mass. 2001), quoting Batchelder v._Allied Stores
International, Inc., 388 Mass. 83, 91 (1983) (“Ballot access is
of fundamental importance in our form of government because
through the ballot the people can control their government.”).
Moreover, any such harm to the government is minimized by the
fact that the plaintiffs in this case clearly were not attempting
to circumvent the election laws, nor have they circumvented them.

In the absence of an injunction, Phillies and Bennett will
remain on the ballot, even when no one disputes that Barr and
Root are the Libertarian nominees for president and vice
president. No public interest is served in having the wrong
nominees on the ballot. Indeed, conversely, the public interest
is advanced by including the right nominees on the ballot to

avoid voter confusion. The Secretary asserts an interest in
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protecting the integrity of the election process but that
interest is not threatened here, where the evidence indicates
that the plaintiffs have made a good faith effort to comply with
the law.' C.,£. In re The Substitute Nomination Certificate of
Bob Barr as the Libertarian Candidate for President of the United
States, No. 414 M.D. 2008, slip op. at 6 (Pa. Commw. Ct. Sept. 5,
2008) (finding that the substitution of Barr for the Libertarian
candidate listed on the nomination papers before the Libertarian
National Convention was not intended to mislead Pennsylvanian
voters). For these reasons, the Court finds that the public
interest would be ill-served by the denial of a preliminary

injunction here,

‘The fact that the signators of the plaintiffs’ petitions
were expressing sponsorship of the Libertarian Party electors
who, in turn, were pledged to the original Libertarian candidates
is indicative of the fact that no disenfranchisement will be
wrought on those signators (nor deception on the electorate) by
allowing the substitution on the ballot of the actual nominees of
the Libertarian Party or, in the case of the one elector who has
expressed an unwillingness to be pledged to Barr and Root, to
allow the substitution of a new elector who will be so pledged.
In any event, there is no question that for whomever signators

were signing, i.e. the electors, the candidates or the party, all
three favor substitution.

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ORDER
In accordance with the foregoing, the plaintiffs’ motion for
a preliminary injunction (Docket No. 6) is ALLOWED, and a

preliminary injunction in the form annexed hereto will enter.

So ordered.

Vtech dl

Nathaniel M. Gortén
United States District Judge

Dated September 22, 2008

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